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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

CORETEK LICENSING LLC,
                                                          Civil Action No.:
                Plaintiff,

      v.                                                  TRIAL BY JURY DEMANDED

ZOOM VIDEO COMMUNICATIONS, INC.,

                Defendant.

                             COMPLAINT FOR INFRINGEMENT OF PATENT

           Now comes, Plaintiff, Coretek Licensing LLC (“Plaintiff” or “Coretek”), by and through

undersigned counsel, and respectfully alleges, states, and prays as follows:

                                      NATURE OF THE ACTION

           1.       This is an action for patent infringement under the Patent Laws of the United

States, Title 35 United States Code (“U.S.C.”) to prevent and enjoin Defendant Zoom Video

Communications, Inc. (hereinafter “Defendant”), from infringing and profiting, in an illegal and

unauthorized manner, and without authorization and/or consent from Plaintiff from U.S. Patent

No 8,861,512 (“the ‘512 Patent”), U.S. Patent No. 9,173,154 (“the ‘154 Patent”), U.S. Patent No.

9,369,575 (“the ‘575 Patent”), and U.S. Patent No. 9,591,551 (“the ‘551 Patent”) (collectively

the “Patents-in-Suit”), which are attached hereto as Exhibits A, B, C, and D, respectively, and

incorporated herein by reference, and pursuant to 35 U.S.C. §271, and to recover damages,

attorney’s fees, and costs.

                                              THE PARTIES

           2.       Plaintiff is a Texas limited liability company with its principal place of business at

2018 Dallas Parkway – Suite 214-1051, Plano, Texas 75093-4362.

           3.       Upon information and belief, Defendant is a corporation organized under the laws

of Delaware, with a principal place of business at 55 Almaden Boulevard – 6th Floor, San Jose,
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California 95113. Upon information and belief, Defendant may be served with process c/o The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

          4.   Plaintiff is further informed and believes, and on that basis alleges, that Defendant

operates the website www.zoom.us. Defendant derives a portion of its revenue from sales and

distribution via electronic transactions conducted on and using at least, but not limited to, its

Internet website located at www.zoom.us, and its incorporated and/or related systems

(collectively the “Zoom Website”). Plaintiff is informed and believes, and on that basis alleges,

that, at all times relevant hereto, Defendant has done and continues to do business in this judicial

district, including, but not limited to, providing products/services to customers located in this

judicial district by way of the Zoom Website.

                                 JURISDICTION AND VENUE

          5.   This is an action for patent infringement in violation of the Patent Act of the

United States, 35 U.S.C. §§1 et seq.

          6.   The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a).

          7.   This Court has personal jurisdiction over Defendant by virtue of its systematic

and continuous contacts with this jurisdiction and its residence in this District, as well as because

of the injury to Plaintiff, and the cause of action Plaintiff has risen in this District, as alleged

herein.

          8.   Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to its substantial business in this forum, including: (i) at least a portion of the

infringements alleged herein; (ii) regularly doing or soliciting business, engaging in other



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persistent courses of conduct, and/or deriving substantial revenue from goods and services

provided to individuals in this forum state and in this judicial District; and (iii) being

incorporated in this District.

       9.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1400(b) because

Defendant resides in this District under the Supreme Court’s opinion in TC Heartland v. Kraft

Foods Group Brands LLC, 137 S. Ct. 1514 (2017) through its incorporation, and regular and

established place of business in this District.

                                   FACTUAL ALLEGATIONS

       10.      On October 14, 2014, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘512 Patent, entitled “METHOD OF ENABLING A WIRELESS

DEVICE TO MAKE A NETWORK CONNECTION WITHOUT USING A NETWORK

OPERATOR’S HOME LOCATION REGISTER” after a full and fair examination. The ‘512

Patent is attached hereto as Exhibit A and incorporated herein as if fully rewritten.

       11.      Plaintiff is presently the owner of the ‘512 Patent, having received all right, title

and interest in and to the ‘512 Patent from the previous assignee of record. Plaintiff possesses all

rights of recovery under the ‘512 Patent, including the exclusive right to recover for past

infringement.

       12.      To the extent required, Plaintiff has complied with all marking requirements

under 35 U.S.C. § 287 with respect to the ‘512 Patent.

       13.      The invention claimed in the ‘512 Patent comprises a method, system, and/or

server enabling a wireless device to initiate a network connection without using a network

operator's home location register.




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        14.   Claim 1 of the ‘512 Patent recites a method of enabling a wireless device, located

in a region, to initiate a network connection without using a network operator's home location

register.

        15.   Claim 1 of the ‘512 Patent states:

                      “1. A method of enabling a wireless device, located in a region, to
              initiate a network connection without using a network operator's home
              location register that covers that region, comprising the steps of:
                      (a) the wireless device using a module that is responsible for
              contacting a server to communicate with the server over a wireless link,
              wherein the device includes the module that is implemented as software
              and that is downloadable to the device;
                      (b) the wireless device using the module to send, over the wireless
              link, data to the server that defines a call request;
                      (c) in response to the call request, a software application running
              on the server deciding on the appropriate routing to a third party end-user
              over all available networks for that call request without using the network
              operator's home or visitor location register.” See Exhibit A.

        16.   Claim 12 of the ‘512 Patent states:

                     “12. The method of claim 1 in which the module establishes and
              controls communication between the device and the server.” See Exhibit
              A.

        17.   Claim 23 of the ‘512 Patent recites a system comprising a wireless device located

in a region and a server for enabling the wireless device to communicate with the server to

initiate a network connection without using a network operator's home location.

        18.   Claim 23 of the ‘512 Patent states:

                      “23. A system comprising a wireless device located in a region and
              a server for enabling the wireless device to communicate with the server to
              initiate a network connection without using a network operator's home
              location register that covers that region, wherein the server includes a
              software application that functions as a calls manager, wherein:
                      (a) the wireless device is operable using a module that is
              responsible for contacting the server to communicate with the server over

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               a wireless link, wherein the device includes the module that is
               implemented as software and that is downloadable to the device;
                      (b) the wireless device is operable using the module to send, over
               the wireless link, data to the server that defines a call request;
                      (c) in response to the call request, the calls manager software
               included on the server is operable to decide on the appropriate routing to a
               third party end-user over all available networks for that call request
               without using the network operator's home or visitor location register.”
               See Exhibit A.

       19.     Claim 24 of the ‘512 Patent recites a server for enabling a wireless device to

communicate with the server to initiate a network connection without using a network operator's

home location register.

       20.     Claim 24 of the ‘512 Patent states:

                      “24. A server for enabling a wireless device to communicate with
               the server to initiate a network connection without using a network
               operator's home location register, wherein the server includes a software
               application that functions as a calls manager, wherein:
                      (a) the wireless device is operable using a module that is
               responsible for contacting the server to communicate with the server over
               a wireless link, wherein the device includes the module that is
               implemented as software and that is downloadable to the device;
                      (b) the wireless device is operable using the module to send, over
               the wireless link, data to the server that defines a call request;
                      (c) in response to the call request, the calls manager software
               included on the server is operable to decide on the appropriate routing to a
               third party end-user over all available networks for that call request
               without using that network operator's home or visitor location register.”
               See Exhibit A.

       21.     Defendant commercializes, inter alia, methods that perform all the steps recited in

at least one claim of the ‘512 Patent. More particularly, Defendant commercializes, inter alia,

methods, systems, and/or servers that perform all the steps recited in Claims 1, 12, 23, and/or 24

of the ‘512 Patent. Specifically, Defendant makes, uses, sells, offers for sale, or imports a

method, system, and/or server that enables a wireless device to initiate a network connection
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without using a network operator's home location register that encompasses that which is

covered by Claims 1, 12, 23, and/or 24 of the ‘512 Patent.

       22.      On October 27, 2015, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘154 Patent, entitled “METHOD OF ENABLING A WIRELESS

DEVICE TO MAKE A NETWORK CONNECTION WITHOUT USING A NETWORK

OPERATOR’S HOME LOCATION REGISTER” after a full and fair examination. The ‘154

Patent is attached hereto as Exhibit B and incorporated herein as if fully rewritten.

       23.      Plaintiff is presently the owner of the ‘154 Patent, having received all right, title

and interest in and to the ‘154 Patent from the previous assignee of record. Plaintiff possesses all

rights of recovery under the ‘154 Patent, including the exclusive right to recover for past

infringement.

       24.      To the extent required, Plaintiff has complied with all marking requirements

under 35 U.S.C. § 287 with respect to the ‘154 Patent.

       25.      The invention claimed in the ‘154 Patent comprises a method, system, server,

and/or computer product enabling a wireless device to initiate a network connection without

using a network operator's home location register.

       26.      Claim 1 of the ‘154 Patent recites a method of enabling a wireless device to

initiate a network connection without using a network operator's home location register.

       27.      Claim 1 of the ‘154 Patent states:

                        “1. A method of enabling a wireless handheld cellular phone
                device, located in a region, to initiate a network connection without using
                a network operator's home location register that covers that region,
                comprising the steps of:
                        (a) the wireless handheld cellular phone device using a module that
                is responsible for contacting a server to communicate with the server over
                a wireless link, wherein the wireless handheld cellular phone device


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               includes the module that is implemented as software and that is
               downloadable to the wireless handheld cellular phone device;
                       (b) the wireless handheld cellular phone device using the module
               to send, over the wireless link, data to the server that defines a call request;
                       (c) in response to the call request, a software application running
               on the server deciding on the appropriate routing to a 3rd party end-user
               for that call request without using the network operator's home or visitor
               location register.” See Exhibit B.

       28.     Claim 11 of the ‘154 Patent states:

                      “11. The method of claim 1 in which the module establishes and
               controls communication between the device and the server.” See Exhibit
               B.

       29.     Claim 22 of the ‘154 Patent recites a system comprising a wireless handheld

cellular phone device located in a region and a server for enabling the wireless handheld cellular

phone device to communicate with the server to initiate a network connection without using a

network operator's home location register.

       30.     Claim 22 of the ‘154 Patent states:

                       “22. A system comprising a wireless handheld cellular phone
               device located in a region and a server for enabling the wireless handheld
               cellular phone device to communicate with the server to initiate a network
               connection without using a network operator's home location register that
               covers that region, wherein the server includes a software application that
               functions as a calls manager, wherein:
                       (a) the wireless handheld cellular phone device is operable using a
               module that is responsible for contacting the server to communicate with
               the server over a wireless link, wherein the wireless handheld cellular
               phone device includes the module that is implemented as software and that
               is downloadable to the wireless handheld cellular phone device;
                       (b) the wireless handheld cellular phone device is operable using
               the module to send, over the wireless link, data to the server that defines a
               call request;
                       (c) in response to the call request, the calls manager software
               included on the server is operable to decide on the appropriate routing to a


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               3rd party end-user for that call request without using the network
               operator's home or visitor location register.” See Exhibit B.

       31.     Claim 23 of the ‘154 Patent recites a server for enabling a wireless handheld

cellular phone device to communicate with the server to initiate a network connection without

using a network operator's home location register.

       32.     Claim 23 of the ‘154 Patent states:

                       “23. A server for enabling a wireless handheld cellular phone
               device to communicate with the server to initiate a network connection
               without using a network operator's home location register, wherein the
               server includes a software application that functions as a calls manager,
               wherein:
                       (a) the wireless handheld cellular phone device is operable using a
               module that is responsible for contacting the server to communicate with
               the server over a wireless link, wherein the wireless handheld cellular
               phone device includes the module that is implemented as software and that
               is downloadable to the wireless handheld cellular phone device;
                       (b) the wireless handheld cellular phone device is operable using
               the module to send, over the wireless link, data to the server that defines a
               call request;
                       (c) in response to the call request, the calls manager software
               included on the server is operable to decide on the appropriate routing to a
               3rd party end-user for that call request without using that network
               operator's home or visitor location register.” See Exhibit B.

       33.     Claim 24 of the ‘154 Patent recites a computer program product that enables a

wireless handheld cellular phone device to initiate a network connection without using a network

operator's home location register.

       34.     Claim 24 of the ‘154 Patent states:

                      “24. Computer program product embodied on a non-transitory
               storage medium, the computer program product when executing on a
               wireless handheld cellular phone device configured to enable the wireless
               handheld cellular phone device, when located in a region, to initiate a
               network connection without using a network operator's home location


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                register that covers that region, the computer program product configured
                to:
                        (a) contact a server to communicate with the server over a wireless
                link, and
                        (b) send, over the wireless link, data to the server that defines a call
                request;
                        wherein, in response to the call request, a software application
                running on the server decides on the appropriate routing to a 3rd party
                end-user for that call request without using the network operator's home or
                visitor location register, and wherein the computer program product is
                downloadable to the wireless handheld cellular phone device.” See Exhibit
                B.

       35.      Defendant commercializes, inter alia, methods, systems, servers, and/or computer

products that perform all the steps recited in at least one claim of the ‘154 Patent. More

particularly, Defendant commercializes, inter alia, methods that perform all the steps recited in

Claims 1, 11, 22, 23, and/or 24 of the ‘154 Patent. Specifically, Defendant makes, uses, sells,

offers for sale, or imports a method, system, server, and/or computer product that enables a

wireless device to initiate a network connection without using a network operator's home

location register that encompasses that which is covered by Claims 1, 11, 22, 23, and/or 24 of the

‘154 Patent.

       36.      On June 14, 2016, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘575 Patent, entitled “DYNAMIC VOIP LOCATION SYSTEM”

after a full and fair examination. The ‘575 Patent is attached hereto as Exhibit C and

incorporated herein as if fully rewritten.

       37.      Plaintiff is presently the owner of the ‘575 Patent, having received all right, title

and interest in and to the ‘575 Patent from the previous assignee of record. Plaintiff possesses all

rights of recovery under the ‘575 Patent, including the exclusive right to recover for past

infringement.


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       38.        To the extent required, Plaintiff has complied with all marking requirements

under 35 U.S.C. § 287 with respect to the ‘575 Patent.

       39.        The invention claimed in the ‘575 Patent comprises a system for detecting or

determining any given VoIP (Voice over internet protocol) location of any VoIP enabled

wireless device registered to the system.

       40.        Claim 1 of the ‘575 Patent recites a system for detecting or determining any given

“VoIP (Voice over internet protocol) location” of any “VoIP enabled wireless device registered

to the system”.

       41.        Claim 1 of the ‘575 Patent states:

                          “1. A system for detecting or determining any given “VoIP (Voice
                  over internet protocol) location” of any “VoIP enabled wireless device
                  registered to the system” by extracting any such device's “VoIP address or
                  return path” and storing it and updating it in one or more accessible
                  databases, the system including a server, a VoIP enabled wireless device
                  registered to the server and a software module downloadable from the
                  server to the VoIP enabled wireless device, in which:
                          (a) the system is adapted to receive VOID communications from
                  multiple VoIP enabled wireless devices;
                          (b) the system enables access to information in one or more
                  databases;
                          (c) the system is capable of extracting and reporting dynamically
                  the “VoIP address or return path” and all associated information from each
                  incoming data communication from any “VoIP enabled wireless device
                  registered to the system” into a database(s) associated with each
                  corresponding registered VoIP enabled wireless device user account;
                          (d) the system is capable of extracting a specific “VoIP address or
                  return path” and all associated information corresponding to a specific
                  registered VOID enabled wireless device user account from the system
                  accessible database(s) and communicating with each specific VoIP
                  enabled wireless device registered to the system through each specific
                  “VoIP address or return path”;
                          (e) in which the VoIP enabled wireless device registered to the
                  server incorporates the software module, which at certain time intervals
                  authenticates and connects to the server which is part of the system, and

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                        (f) wherein a time between each time interval of the registered
                VoIP enabled wireless device authenticating and connecting with the
                server is less than a time allowed by the registered VoIP enabled wireless
                device to receive a response from the server.” See Exhibit C.

       42.      Defendant commercializes, inter alia, systems that perform all the steps recited in

at least one claim of the ‘575 Patent. More particularly, Defendant commercializes, inter alia,

methods that perform all the steps recited in Claim 1 of the ‘575 Patent. Specifically, Defendant

makes, uses, sells, offers for sale, or imports a system that detects or determines any given VoIP

(Voice over internet protocol) location of any VoIP enabled wireless device registered to the

system that encompasses that which is covered by Claim 1 of the ‘575 Patent.

       43.      On March 7, 2017, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘551 Patent, entitled “METHOD OF ENABLING A WIRELESS

DEVICE TO MAKE A NETWORK CONNECTION WITHOUT USING A NETWORK

OPERATOR’S HOME LOCATION REGISTER” after a full and fair examination. The ‘551

Patent is attached hereto as Exhibit D and incorporated herein as if fully rewritten.

       44.      Plaintiff is presently the owner of the ‘551 Patent, having received all right, title

and interest in and to the ‘551 Patent from the previous assignee of record. Plaintiff possesses all

rights of recovery under the ‘551 Patent, including the exclusive right to recover for past

infringement.

       45.      To the extent required, Plaintiff has complied with all marking requirements

under 35 U.S.C. § 287 with respect to the ‘551 Patent.

       46.      The invention claimed in the ‘551 Patent comprises a method, system, server,

and/or computer product enabling a wireless device to initiate a network connection without

using a network operator's home location register.



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       47.     Claim 1 of the ‘551 Patent recites a computer program product configured to

enable the wireless device to initiate a network connection without using a network operator's

home location register.

       48.     Claim 1 of the ‘551 Patent states:

                        “1. Computer program product embodied on a non-transitory
               storage medium, the computer program product when executing on a
               wireless device configured to enable the wireless device, when located in a
               region, to initiate a network connection without using a network operator's
               home location register that covers that region, the computer program
               product configured to:
                        (a) contact a server to communicate with the server over a wireless
               link, and
                        (b) send, over the wireless link, data to the server that defines a call
               request;
                        wherein, in response to the call request, a software application
               running on the server decides on the appropriate routing to a 3rd party
               end-user for that call request without using the network operator's home or
               visitor location register.” See Exhibit D.

       49.     Claim 3 of the ‘551 Patent states:

                      “3. Computer program product of claim 1, wherein the computer
               program product is downloadable to the wireless device.” See Exhibit D.

       50.     Claim 4 of the ‘551 Patent states:

                      “4. Computer program product of claim 1, wherein the computer
               program product is embedded in the wireless device.” See Exhibit D.

       51.     Claim 5 of the ‘551 Patent states:

                      “5. Computer program product of claim 1, wherein the server is an
               application server.” See Exhibit D.
       52.     Claim 7 of the ‘551 Patent states:

                      “7. Computer program product of claim 1, wherein the wireless
               device uses the internet to communicate with the server.” See Exhibit D.

       53.     Claim 9 of the ‘551 Patent states:
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                       “9. Computer program product of claim 1, wherein the computer
                program product is configured to receive calls at the wireless device.” See
                Exhibit D.

        54.     Claim 12 of the ‘551 Patent states:

                        “12. Computer program product of claim 1, wherein the computer
                program product is configured to provide messages over the internet, or
                HTTP over the internet communication from the wireless device to the
                server.” See Exhibit D.

        55.     Claim 14 of the ‘551 Patent states:

                       “14. Computer program product of claim 1, wherein the computer
                program product is configured to establish and control communication
                between the wireless device and the server.” See Exhibit D.

        56.     Claim 22 of the ‘551 Patent recites a method of enabling a wireless device,

located in a region, to initiate a network connection without using a network operator's home

location register.

        57.     Claim 22 of the ‘551 Patent states:

                        “22. A method of enabling a wireless device, located in a region, to
                initiate a network connection without using a network operator's home
                location register that covers that region, comprising the steps of:
                        (a) the wireless device using a module that is responsible for
                contacting a server to communicate with the server over a wireless link,
                wherein the wireless device includes the module that is implemented as
                software and that is downloadable to the wireless device;
                        (b) the wireless device using the module to send, over the wireless
                link, data to the server that defines a call request;
                        (c) in response to the call request, a software application running
                on the server deciding on the appropriate routing to a 3rd party end-user
                for that call request without using the network operator's home or visitor
                location register.” See Exhibit D.




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       58.     Claim 23 of the ‘551 Patent recites system enabling a wireless device to

communicate with the server to initiate a network connection without using a network operator's

home location register.

       59.     Claim 23 of the ‘551 Patent states:

                       “23. A system comprising a wireless device located in a region and
               a server for enabling the wireless device to communicate with the server to
               initiate a network connection without using a network operator's home
               location register that covers that region, wherein the server includes a
               software application that functions as a calls manager, wherein:
                       (a) the wireless device is operable using a module that is
               responsible for contacting the server to communicate with the server over
               a wireless link, wherein the wireless device includes the module that is
               implemented as software and that is downloadable to the wireless device;
                       (b) the wireless device is operable using the module to send, over
               the wireless link, data to the server that defines a call request;
                       (c) in response to the call request, the calls manager software
               included on the server is operable to decide on the appropriate routing to a
               3rd party end-user for that call request without using the network
               operator's home or visitor location register.” See Exhibit D.

       60.     Claim 24 of the ‘551 Patent recites a server for enabling a wireless device to

communicate with the server to initiate a network connection without using a network operator's

home location register.

       61.     Claim 24 of the ‘551 Patent states:

                      “24. A server for enabling a wireless device to communicate with
               the server to initiate a network connection without using a network
               operator's home location register, wherein the server includes a software
               application that functions as a calls manager, wherein:
                      (a) the wireless device is operable using a module that is
               responsible for contacting the server to communicate with the server over
               a wireless link, wherein the wireless device includes the module that is
               implemented as software and that is downloadable to the wireless device;
                      (b) the wireless device is operable using the module to send, over
               the wireless link, data to the server that defines a call request;


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                       (c) in response to the call request, the calls manager software
                included on the server is operable to decide on the appropriate routing to a
                3rd party end-user for that call request without using that network
                operator's home or visitor location register.” See Exhibit D.

        62.     Defendant commercializes, inter alia, methods, systems, servers, and/or computer

products that perform all the steps recited in at least one claim of the ‘551 Patent. More

particularly, Defendant commercializes, inter alia, methods that perform all the steps recited in

Claims 1, 3, 4, 5, 7, 9, 12, 14, 22, 23, and/or 24 of the ‘551 Patent. Specifically, Defendant

makes, uses, sells, offers for sale, or imports a method, system, server, and/or computer product

that enables a wireless device to initiate a network connection without using a network operator's

home location register that encompasses that which is covered by Claims 1, 3, 4, 5, 7, 9, 12, 14,

22, 23, and/or 24 of the ‘551 Patent.

                                 DEFENDANT’S PRODUCT(S)

                                          U.S. 8,861,512

        63.     Defendant offers solutions, such as “Zoom” (the “Accused Product”)

communications software.

        64.     A non-limiting and exemplary claim chart comparing the Accused Product to

Claims 1, 12, 23, and 24 of the ‘512 Patent is attached hereto as Exhibit E and is incorporated

herein as if fully rewritten.

        65.     As recited in Claim 1, the Accused Product discloses a method of enabling a

wireless device (e.g., Smartphone), located in a region, to initiate a network connection (e.g., SIP

Invite) without using a network operator's home location register that covers that region. The

accused product uses Internet or IP network for calling. As shown below, the Accused Product

doesn’t make use of home location register (e.g., HLR). See Exhibit E.



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       66.     As recited in one step of Claim 1, the wireless device (e.g., Smartphone) using a

module (e.g., Zoom Cloud Meetings application) that is responsible for contacting a server (e.g.,

Zoom Server) to communicate with the server (e.g., Zoom Server) over a wireless link (e.g., Wi-

Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the module (e.g., Zoom

Cloud Meetings application) that is implemented as software and that is downloadable to the

wireless device (e.g., Smartphone). See Exhibit E.

       67.     As recited in another step of Claim 1, the wireless device (e.g., Smartphone) using

the module (e.g., Zoom Cloud Meetings application) to send, over the wireless link (e.g., Wi-

Fi/Cellular link), data to the server (e.g., Zoom) that defines a call request (e.g., Invite signal

from caller to server). See Exhibit E.

       68.     As recited in another step of Claim 1, in response to the call request (e.g., Invite

signal from caller to server), a software application (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) running on the server (e.g., Zoom Server)

deciding on the appropriate routing (e.g., Invite signal from server to callee) to a third party end-

user (e.g., Other users using Zoom Cloud Meetings) over all available networks for that call

request (e.g., Invite signal from caller to server) without using the network operator's home or

visitor location register. See Exhibit E.

       69.     As recited in Claim 12, the module (e.g., Zoom application) establishes and

control communication (e.g., SIP communication) between the wireless device (e.g.,

Smartphone) and the server (e.g., Zoom Cloud Meetings Server). See Exhibit E.

       70.     As recited in Claim 23, the Accused Product discloses a system comprising a

wireless device (e.g., Smartphone) located in a region and a server (e.g., Zoom Cloud Meetings

Server) for enabling the wireless device (e.g., Smartphone) to communicate with the server (e.g.,



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Zoom Cloud Meetings Server) to initiate a network connection (e.g., SIP Invite) without using a

network operator's home location register that covers that region, wherein the server includes a

software application (e.g., software running at Zoom server to route/manage calls) that functions

as a calls manager. See Exhibit E.

       71.     As recited in one step of Claim 23, the wireless device (e.g., Smartphone) is

operable using a module (e.g., Zoom Cloud Meetings application) that is responsible for

contacting a server (e.g., Zoom Server) to communicate with the server (e.g., Zoom Server) over

a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone)

includes the module (e.g., Zoom Cloud Meetings application) that is implemented as software

and that is downloadable to the wireless device (e.g., Smartphone). See Exhibit E.

       72.     As recited in another step of Claim 23, the wireless device (e.g., Smartphone) is

operable using the module (e.g., Zoom Cloud Meetings application) to send, over the wireless

link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Server) that defines a call request

(e.g., Invite signal from caller to server). See Exhibit E.

       73.     As recited in another step of Claim 23, in response to the call request (e.g., Invite

signal from caller to server), the calls manager software (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) included on the server (e.g., Zoom Cloud

Meetings Server) is operable to decide on the appropriate routing (e.g., Invite signal from server

to callee) to a third party end-user (e.g., Other users using Zoom Cloud Meetings) over all

available networks for that call request (e.g., Invite signal from caller to server) without using the

network operator's home or visitor location register. See Exhibit E.

       74.     As recited in Claim 24, the Accused Product discloses a server enabling a wireless

device (e.g., Smartphone) to communicate with the server (e.g., Zoom Server) to initiate a



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network connection (e.g., SIP invite) without using a network operator's home location register

that covers that region, wherein the server includes a software application (e.g., software running

at Zoom server to route/manage calls) that functions as a calls manager. See Exhibit E.

       75.     As recited in one step of Claim 24, the wireless device (e.g., Smartphone) is

operable using a module (e.g., Zoom Cloud Meetings application) that is responsible for

contacting a server (e.g., Zoom Server) to communicate with the server (e.g., Zoom Server) over

a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone)

includes the module (e.g., Zoom Cloud Meetings application) that is implemented as software

and that is downloadable to the wireless device (e.g., Smartphone). See Exhibit E.

       76.     As recited in another step of Claim 24, the wireless device (e.g., Smartphone) is

operable using the module (e.g., Zoom Cloud Meetings application) to send, over the wireless

link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Server) that defines a call request

(e.g., Invite signal from caller to server). See Exhibit E.

       77.     As recited in another step of Claim 24, in response to the call request (e.g., Invite

signal from caller to server), call manager software (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) included on the server (e.g., Zoom Cloud

Meetings Server) is operable to decide on the appropriate routing (e.g., Invite signal from server

to callee) to a 3rd party end-user (e.g., Other users using Zoom Cloud Meetings) for that call

request without using the network operator's home or visitor location register. See Exhibit E.

       78.     The elements described in the preceding paragraphs are covered by at least

Claims 1, 12, 23, and/or 24 of the ‘512 Patent. Thus, Defendant’s use of the Accused Product is

enabled by the method, system, and/or server described in the ‘512 Patent.




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                                          U.S. 9,173,154

        79.     Defendant offers solutions, such as “Zoom Cloud Meetings” (the “Accused

Product”) communications software.

        80.     A non-limiting and exemplary claim chart comparing the Accused Product to

Claims 1, 11, 22, 23, and 24 of the ‘154 Patent is attached hereto as Exhibit F and is incorporated

herein as if fully rewritten.

        81.     As recited in Claim 1, the Accused Product discloses a method of enabling a

wireless handheld cellular phone device (e.g., Smartphone), located in a region, to initiate a

network connection (e.g., SIP Invite) without using a network operator's home location register

that covers that region. The Accused Product uses Internet or IP network for calling. As shown

below, the accused product doesn’t make use of home location register (e.g., HLR). See Exhibit

F.

        82.     As recited in one step of Claim 1, the wireless handheld cellular phone device

(e.g., Smartphone) using a module (e.g., Zoom Cloud Meetings application) that is responsible

for contacting a server (e.g., Zoom Server) to communicate with the server (e.g., Zoom Server)

over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless handheld cellular phone

device (e.g., Smartphone) includes the module (e.g., Zoom Cloud Meetings application) that is

implemented as software and that is downloadable to the wireless handheld cellular phone device

(e.g., Smartphone). See Exhibit F.

        83.     As recited in another step of Claim 1, the wireless handheld cellular phone device

(e.g., Smartphone) using the module (e.g., Zoom Cloud Meetings application) to send, over the




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wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Server) that defines a call

request (e.g., Invite signal from caller to server). See Exhibit F.

       84.     As recited in another step of Claim 1, in response to the call request (e.g., Invite

signal from caller to server), a software application (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) running on the server (e.g., Zoom Cloud Meetings

Server) deciding on the appropriate routing (e.g., Invite signal from server to callee) to a third

party end-user (e.g., Other users using Zoom Cloud Meetings) over all available networks for

that call request (e.g., Invite signal from caller to server) without using the network operator's

home or visitor location register. See Exhibit F.

       85.     As recited in Claim 11, the module (e.g., Zoom application) establishes and

controls communication (e.g., SIP communication) between the wireless device (e.g.,

Smartphone) and the server. See Exhibit F.

       86.     As recited in Claim 22, the Accused Product discloses a system comprising a

wireless handheld cellular phone device (e.g., Smartphone) located in a region and a server (e.g.,

Zoom Clouds Meeting Server) for enabling the wireless handheld cellular phone device (e.g.,

Smartphone) to communicate with the server (e.g., Zoom Cloud Meetings Server) to initiate a

network connection (e.g., SIP Invite) without using a network operator's home location register

that covers that region, wherein the server includes a software application (e.g., software running

at Zoom Server to route/manage calls) that functions as a calls manager. See Exhibit F.

       87.     As recited in one step of Claim 22, the wireless handheld cellular phone device

(e.g., Smartphone) is operable using a module (e.g., Zoom Cloud Meetings application) that is

responsible for contacting a server (e.g., Zoom Server) to communicate with the server (e.g.,

Zoom Server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless handheld



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cellular phone device (e.g., Smartphone) includes the module (e.g., Zoom Cloud Meetings

application) that is implemented as software and that is downloadable to the wireless handheld

cellular phone device (e.g., Smartphone). See Exhibit F.

        88.      As recited in another step of Claim 22, the wireless handheld cellular phone

device (e.g., Smartphone) is operable using the module (e.g., Zoom Cloud Meetings application)

to send, over the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Server)

that defines a call request (e.g., Invite signal from caller to server). See Exhibit F.

        89.      As recited in another step of Claim 22, in response to the call request (e.g., Invite

signal from caller to server), the calls manager software (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) included on the server (e.g., Zoom Cloud

Meetings Server) is operable to decide on the appropriate routing (e.g., Invite signal from server

to callee) to a third party end-user (e.g., Other users using Zoom Cloud Meetings) over all

available networks for that call request (e.g., Invite signal from caller to server) without using the

network operator's home or visitor location register. See Exhibit F.

        90.      As recited in Claim 23, the Accused Product discloses a server enabling a wireless

handheld cellular phone device (e.g., Smartphone) to communicate with the server (e.g., Zoom

Server) to initiate a network connection (e.g., SIP invite) without using a network operator's

home location register that covers that region, wherein the server includes a software application

(e.g., software running at Zoom Server to route/manage calls) that functions as a calls manager.

See Exhibit F.

        91.      As recited in one step of Claim 23, the wireless handheld cellular phone device

(e.g., Smartphone) is operable using a module (e.g., Zoom Cloud Meetings application) that is

responsible for contacting a server (e.g., Zoom Server) to communicate with the server (e.g.,



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Zoom Server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless handheld

cellular phone device (e.g., Smartphone) includes the module (e.g., Zoom Cloud Meetings

application) that is implemented as software and that is downloadable to the wireless handheld

cellular phone device (e.g., Smartphone). See Exhibit F.

        92.     As recited in another step of Claim 23, the wireless handheld cellular phone

device (e.g., Smartphone) is operable using the module (e.g., Zoom Cloud Meetings application)

to send, over the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Server)

that defines a call request (e.g., Invite signal from caller to server). See Exhibit F.

        93.     As recited in another step of Claim 23, in response to the call request (e.g., Invite

signal from caller to server), call manager software (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) included on the server (e.g., Zoom Cloud

Meetings Server) is operable to decide on the appropriate routing (e.g., Invite signal from server

to callee) to a third party end-user (e.g., Other users using Zoom Cloud Meetings) for that call

request (e.g., Invite signal from caller to server) without using the network operator's home or

visitor location register. See Exhibit F.

        94.     As recited in Claim 24, the Accused Product discloses a computer program

product (e.g., Zoom Cloud Meetings) embodied on a non-transitory storage medium (e.g.,

Smartphone’s memory), the computer program product (e.g., Zoom Cloud Meetings) when

executing on a wireless handheld cellular phone device (e.g., Smartphone) configured to enable

the wireless handheld cellular phone device (e.g., Smartphone), when located in a region, to

initiate a network connection (e.g., SIP Invite) without using a network operator's home location

register that covers that region. The Accused Product uses Internet or IP network for calling.




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Hence, it bypasses network operator’s home location register as Wi-Fi/Cellular or internet based

calling does not require home location register (HLR) See Exhibit F.

        95.     As recited in one step of Claim 24, the Accused Product contacts a server (e.g.,

Zoom Cloud Meetings Server) to communicate with the server (e.g., Zoom Cloud Meetings

Server) over a wireless link (e.g., Wi-Fi/Cellular link). See Exhibit F.

        96.     As recited in another step of Claim 24, the Accused Product sends, over the

wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Cloud Meetings Server)

that defines a call request (e.g., Invite signal from caller to server). See Exhibit F.

        97.     As recited in another step of Claim 24, in response to the call request (e.g., Invite

signal from caller to server), a software application (e.g., software running at Zoom Server to

route/manage calls running on the server (e.g., Zoom Cloud Meetings Server) decides on the

appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-user (e.g., Other

users using Zoom Cloud Meetings) for that call request (e.g., Invite signal from caller to server)

without using the network operator's home or visitor location register, and wherein the computer

program product (e.g., Zoom Cloud Meetings) is downloadable to the wireless handheld cellular

phone device (e.g., Smartphone). See Exhibit F.

        98.     The elements described in the preceding paragraphs are covered by at least

Claims 1, 11, 22, 23, and/or 24 of the ‘154 Patent. Thus, Defendant’s use of the Accused Product

is enabled by the method, system, server, and/or computer product described in the ‘154 Patent.

                                            U.S. 9,369,575

        99.     Defendant offers solutions, such as “ZOOM Cloud Meetings App” (the “Accused

Instrumentality”) communications smartphone application.




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       100.    A non-limiting and exemplary claim chart comparing the Accused Instrumentality

to Claim 1 of the ‘575 Patent is attached hereto as Exhibit G and is incorporated herein as if fully

rewritten.

       101.    As recited in Claim 1, a system utilized by the Accused Instrumentality is a

system for detecting or determining any given “VoIP (Voice over internet protocol) location”

(e.g., IP address of a user device enabled with ZOOM Cloud Meetings application) of any “VoIP

enabled wireless device registered to the system” (e.g., a user device such as a smartphone

enabled with ZOOM Cloud Meetings application) by extracting any such device's “VoIP address

or return path” (e.g., IP address of a user device enabled with ZOOM Cloud Meetings

application) and storing it and updating it in one or more accessible databases (e.g., ZOOM

databases), the system including a server (e.g., ZOOM server), a VoIP enabled wireless device

registered to the server (e.g., a user device such as a smartphone enabled with ZOOM Cloud

Meetings application) and a software module (e.g., ZOOM Cloud Meetings application)

downloadable from the server (e.g., ZOOM server) to the VoIP enabled wireless device (e.g., a

user device such as a smartphone enabled with ZOOM Cloud Meetings application). The system

utilized by the Accused Instrumentality comprises a ZOOM server, a user device such as a

smartphone enabled with ZOOM Cloud Meetings application and ZOOM Cloud Meetings

application. The ZOOM Cloud Meetings application can be installed into a user smartphone

device. The Accused Instrumentality also determines and collects IP address (i.e., VoIP address

or VoIP location) of the user smartphone device. See Exhibit G.

       102.    As recited in one step of Claim 1, the system utilized by the accused

instrumentality is the system which is adapted to receive VoIP communications (e.g., voice

calling over IP network) from multiple VoIP enabled wireless devices (e.g., user devices such as



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smartphones enabled with ZOOM Cloud Meetings application). The Accused Instrumentality

provides voice calling functionality over IP network between users. See Exhibit G.

       103.    As recited in another step of Claim 1, the system utilized by the Accused

Instrumentality is the system which enables access to information in one or more databases.

Upon information and belief, when a user initiates a call request for a contact, the system utilized

by the accused instrumentality access one or more databases associated with ZOOM server to

determine the user identification and/or device identification corresponding to the called contact.

The system determines the status of the contacted user’s device and forwards the call to the

corresponding IP address associated with the contacted user. The system updates the user’s

activity and log information in the corresponding databases. See Exhibit G.

       104.    As recited in another step of Claim 1, the system utilized by the Accused

Instrumentality is the system which is capable of extracting and reporting dynamically the “VoIP

address or return path” (e.g., IP address of a user device enabled with ZOOM Cloud Meetings

application) and all associated information (e.g., all information collected by the Accused

Instrumentality) from each incoming data communication from any “VoIP enabled wireless

device registered to the system” (e.g., a user device such as a smartphone enabled with ZOOM

Cloud Meetings application) into a database(s) associated with each corresponding registered

VoIP enabled wireless device (e.g., a user device such as a smartphone enabled with ZOOM

Cloud Meetings application) user account. The Accused Instrumentality extracts and updates a

user device enabled with ZOOM Cloud Meetings application’s IP address. The Accused

Instrumentality stores the IP address, call log information, device identifiers in the databases

corresponding to the user. See Exhibit G.




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       105.    As recited in another step of Claim 1, the system utilized by the Accused

Instrumentality is the system which is capable of extracting a specific “VoIP address or return

path” (e.g., an IP address of a user device such as a smartphone enabled with ZOOM Cloud

Meetings application) and all associated information (e.g., device information, hardware

information, online status information, etc.) corresponding to a specific registered VoIP enabled

wireless device user account (e.g., a user device such as a smartphone enabled with ZOOM

Cloud Meetings application) from the system accessible database(s) and communicating with

each specific VoIP enabled wireless device (e.g., user device of the called contact such as a

smartphone enabled with ZOOM Cloud Meetings application) registered to the system through

each specific “VoIP address or return path” (e.g., an IP address of the user device of the called

contact such as a smartphone enabled with ZOOM Cloud Meetings application). The Accused

Instrumentality provides voice calling functionality over IP network between users. The Accused

Instrumentality extracts and updates IP addresses of the user devices in its databases. The

Accused Instrumentality enables a user to call a contact by extracting the contacted user’s IP

address and initiating call procedure corresponding to that IP address. See Exhibit G.

       106.    As recited in another step of Claim 1, the system utilized by the Accused

Instrumentality practices such that the VoIP enabled wireless device (e.g., a user device such as a

smartphone enabled with ZOOM Cloud Meetings application) registered to the server (e.g.,

ZOOM server) incorporates the software module (e.g., ZOOM Cloud Meetings application),

which at certain time intervals (e.g., Zoom smartphone app polls the ZOOM server after regular

intervals) authenticates and connects to the server (e.g., ZOOM server) which is part of the

system. A user verifies its phone number with the system utilized by the Accused Instrumentality




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to access the service provided by the system. The system authenticates the user and connects the

user to the ZOOM server. See Exhibit G.

       107.   As recited in another step of Claim 1, the system utilized by the Accused

Instrumentality practices such that a time between each time interval of the registered VoIP

enabled wireless device (e.g., a user device such as a smartphone enabled with ZOOM Cloud

Meetings application) authenticating and connecting with the server (e.g., ZOOM server) is less

than a time allowed by the registered VoIP enabled wireless device (e.g., a user device such as a

smartphone enabled with ZOOM Cloud Meetings application) to receive a response from the

server (e.g., ZOOM server). When a user device such as a smartphone enabled with ZOOM

Cloud Meetings application, during a Zoom voice call, switches from cellular network to Wi-Fi

network or vice versa, the IP address of the user device changes. The Accused Instrumentality

provides seamless and smooth voice calling functionality even when the user device changes the

network. The Accused Instrumentality must take less time to authenticate and connect the user

device with a new IP address to the ZOOM server than a time allowed by the user device to

receive a voice calling response from the server to ensure no data packet loss. The Accused

Instrumentality performs voice calling over IP network. See Exhibit G.

       108.   The elements described in the preceding paragraphs are covered by at least Claim

1 of the ‘575 Patent. Thus, Defendant’s use of the Accused Product is enabled by the method,

system, server, and/or computer product described in the ‘575 Patent.

                                          U.S. 9,591,551

       109.   Defendant offers solutions, such as the “Zoom Cloud Meetings” (the “Accused

Product”) communications software.




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       110.    A non-limiting and exemplary claim chart comparing the Accused Product to

Claims 1, 3, 4, 5, 7, 9, 12, 14, 22, 23, and 24 of the ‘551 Patent is attached hereto as Exhibit H

and is incorporated herein as if fully rewritten.

       111.    As recited in Claim 1, the Accused Product discloses a computer program product

(e.g., Zoom Cloud Meetings) embodied on a non-transitory storage medium (e.g., Smartphone’s

memory), the computer program product (e.g., Zoom Cloud Meetings) when executing on a

wireless device (e.g., Smartphone) configured to enable the wireless device (e.g., Smartphone),

when located in a region, to initiate a network connection (e.g., SIP Invite) without using a

network operator's home location register that covers that region. The Accused Product uses

Internet or IP network for calling. As shown below, the accused product doesn’t make use of

home location register (e.g., HLR). See Exhibit H.

       112.    As recited in one step of Claim 1, the Accused Product contacts a server (e.g.,

Zoom Cloud Meetings Server) to communicate with the server (e.g., Zoom Cloud Meetings

Server) over a wireless link (e.g., Wi-Fi/Cellular link). See Exhibit H.

       113.    As recited in another step of Claim 1, the Accused Product sends, over the

wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Cloud Meetings Server)

that defines a call request (e.g., Invite signal from caller to server). See Exhibit H.

       114.    As recited in another step of Claim 1, in response to the call request (e.g., Invite

signal from caller to server), a software application (e.g., software running at Zoom Server to

route/manage calls) running on the server (e.g., Zoom Cloud Meetings Server) decides on the

appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-user (e.g., Other

users using Zoom Cloud Meetings) for that call request (e.g., Invite signal from caller to server)

without using the network operator's home or visitor location register. See Exhibit H.



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       115.    As recited in Claim 3, the computer program product (e.g., Zoom Cloud

Meetings) is downloadable (e.g., install) to the wireless device (e.g., Smartphone). See Exhibit

H.

       116.    As recited in Claim 4, the computer program product (e.g., Zoom Cloud

Meetings) is embedded to the wireless device (e.g., Smartphone). See Exhibit H.

       117.    As recited in Claim 5, the computer program product (e.g., Zoom Cloud

Meetings) uses an application server (e.g., Zoom Cloud Meetings Server See Exhibit H.

       118.    As recited in Claim 7, the computer program product (e.g., Zoom Cloud

Meetings) uses the wireless device (e.g., Smartphone) uses the internet (e.g., Wi-Fi/Cellular) to

communicate with the server (e.g., Zoom Server). See Exhibit H.

       119.    As recited in Claim 9, the computer program product (e.g., Zoom Cloud

Meetings) is configured to receive calls (e.g., voice calls) at the wireless device (e.g.,

Smartphone). See Exhibit H.

       120.    As recited in Claim 12, the computer program product (e.g., Zoom Cloud

Meetings) is configured to provide messages (e.g., Instant Messages (IM)) over the internet (e.g.,

Wi-Fi/Cellular) from the wireless device (e.g., Smartphone) to the server (Zoom Cloud Meetings

Server). See Exhibit H.

       121.    As recited in Claim 14, the computer program product (e.g., Zoom Cloud

Meetings application) is configured to establish and control communication (e.g., SIP

communication) between the wireless device (e.g., Smartphone) and the server (e.g., Zoom

Server). See Exhibit H.

       122.    As recited in Claim 22, the Accused Product discloses a method of enabling a

wireless device (e.g., Smartphone), located in a region, to initiate a network connection (e.g., SIP



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Invite) without using a network operator's home location register that covers that region. The

Accused Product uses Internet or IP network for calling. Hence, it bypasses network operator’s

home location register as Wi-Fi/Cellular or internet based calling does not require home location

register (HLR). See Exhibit H.

       123.    As recited in one step of Claim 22, the wireless device (e.g., Smartphone) using a

module (e.g., Zoom Cloud Meetings application) that is responsible for contacting a server (e.g.,

Zoom Server) to communicate with the server (e.g., Zoom Server) over a wireless link (e.g., Wi-

Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the module (e.g., Zoom

Cloud Meetings application) that is implemented as software and that is downloadable to the

wireless device (e.g., Smartphone). See Exhibit H.

       124.    As recited in another step of Claim 22, the wireless device (e.g., Smartphone)

using the module (e.g., Zoom Cloud Meetings application) to send, over the wireless link (e.g.,

Wi-Fi/Cellular link), data to the server (e.g., Zoom Server) that defines a call request (e.g., Invite

signal from caller to server). See Exhibit H.

       125.    As recited in another step of Claim 22, in response to the call request (e.g., Invite

signal from caller to server), a software application (e.g., software running at Zoom server to

route/manage calls) running on the server (e.g., Zoom Cloud Meetings Server) deciding on the

appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-user (e.g., Other

users using Zoom Cloud Meetings) for that call request (e.g., Invite signal from caller to server)

without using the network operator's home or visitor location register. See Exhibit H.

       126.    As recited in Claim 23, the Accused Product discloses a system comprising a

wireless device (e.g., Smartphone) located in a region and a server (e.g., Zoom Cloud Meetings

Server) for enabling the wireless device (e.g., Smartphone) to communicate with the server (e.g.,



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Zoom Cloud Meetings Server) to initiate a network connection (e.g., SIP Invite) without using a

network operator's home location register that covers that region, wherein the server includes a

software application (e.g., software running at Zoom Cloud Meetings server to route/manage

calls) that functions as a calls manager. See Exhibit H.

       127.    As recited in one step of Claim 23, the wireless device (e.g., Smartphone) is

operable using a module (e.g., Zoom Cloud Meetings application) that is responsible for

contacting a server (e.g., Zoom Cloud Meetings Server) to communicate with the server (e.g.,

Zoom Cloud Meetings Server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the

wireless device (e.g., Smartphone) includes the module (e.g., Zoom Cloud Meetings application)

that is implemented as software and that is downloadable to the wireless device (e.g.,

Smartphone). See Exhibit H.

       128.    As recited in another step of Claim 23, the wireless device (e.g., Smartphone) is

operable using the module (e.g., Zoom Cloud Meetings application) to send, over the wireless

link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Cloud Meetings Server) that

defines a call request (e.g., Invite signal from caller to server). See Exhibit H.

       129.    As recited in another step of Claim 23, in response to the call request (e.g., Invite

signal from caller to server), the call manager software (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) included on the server (e.g., Zoom Cloud

Meetings Server) is operable to decide on the appropriate routing (e.g., Invite signal from server

to callee) to a 3rd party end-user (e.g., Other users using Zoom Cloud Meetings) for that call

request without using the network operator's home or visitor location register. See Exhibit H.

       130.    As recited in Claim 24, the Accused Product discloses a server enabling a wireless

device (e.g., Smartphone) to communicate with the server (e.g., Zoom Cloud Meetings Server) to



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initiate a network connection (e.g., SIP invite) without using a network operator's home location

register that covers that region, wherein the server includes a software application (e.g., software

running at Zoom Cloud Meetings server to route/manage calls) that functions as a calls manager.

See Exhibit H.

       131.      As recited in one step of Claim 24, the wireless device (e.g., Smartphone) is

operable using a module (e.g., Zoom Cloud Meetings application) that is responsible for

contacting a server (e.g., Zoom Cloud Meetings Server) to communicate with the server (e.g.,

Zoom Cloud Meetings Server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the

wireless device (e.g., Smartphone) includes the module (e.g., Zoom Cloud Meetings application)

that is implemented as software and that is downloadable to the wireless device (e.g.,

Smartphone). See Exhibit H.

       132.      As recited in another step of Claim 24, the wireless device (e.g., Smartphone) is

operable using the module (e.g., Zoom Cloud Meetings application) to send, over the wireless

link (e.g., Wi-Fi/Cellular link), data to the server (e.g., Zoom Cloud Meetings Server) that

defines a call request (e.g., Invite signal from caller to server). See Exhibit H.

       133.      As recited in another step of Claim 24, in response to the call request (e.g., Invite

signal from caller to server), call manager software (e.g., software pertaining to SIP proxy

running at Zoom server to route/manage calls) included on the server (e.g., Zoom Cloud

Meetings Server) is operable to decide on the appropriate routing (e.g., Invite signal from server

to callee) to a 3rd party end-user (e.g., Other users using Zoom Cloud Meetings) for that call

request (e.g., Invite signal from caller to server) without using the network operator's home or

visitor location register. See Exhibit H.




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       134.    The elements described in the preceding paragraphs are covered by at least

Claims 1, 3, 4, 5, 7, 9, 12, 14, 22, 23, and/or 24 of the ‘551 Patent. Thus, Defendant’s use of the

Accused Product is enabled by the method, system, server, and/or computer product described in

the ‘551 Patent.

                           INFRINGEMENT OF THE PATENTS-IN-SUIT

       135.    Plaintiff realleges and incorporates by reference all of the allegations set forth in

the preceding paragraphs

       136.     In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘512 Patent, the ‘154 Patent, the ‘575 Patent, and the ‘551 Patent.

       137.    Defendant has had knowledge of infringement of the ‘512 Patent, the ‘154 Patent,

the ‘575 Patent, and the ‘551 Patent at least as of the service of the present Complaint.

       138.     Defendant has directly infringed and continues to directly infringe at least one

claim of the ‘512 Patent, the ‘154 Patent, the ‘575 Patent, and the ‘551 Patent by using, at least

through internal testing or otherwise, the Accused Product without authority in the United States,

and will continue to do so unless enjoined by this Court. As a direct and proximate result of

Defendant’s direct infringement of the ‘512 Patent, the ‘154 Patent, the ‘575 Patent, and the ‘551

Patent, Plaintiff has been and continues to be damaged.

       139.    Defendant has induced others to infringe the ‘512 Patent, the ‘154 Patent, the ‘575

Patent, and the ‘551 Patent by encouraging infringement, knowing that the acts Defendant

induced constituted patent infringement, and its encouraging acts actually resulted in direct

patent infringement.




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       140.      By engaging in the conduct described herein, Defendant has injured Plaintiff and

is thus liable for infringement of the ‘512 Patent, the ‘154 Patent, the ‘575 Patent, and the ‘551

Patent, pursuant to 35 U.S.C. § 271.

       141.      Defendant has committed these acts of infringement without license or

authorization.

       142.      As a result of Defendant’s infringement of the ‘512 Patent, the ‘154 Patent, the

‘575 Patent, and the ‘551 Patent, Plaintiff has suffered monetary damages and is entitled to a

monetary judgment in an amount adequate to compensate for Defendant’s past infringement,

together with interests and costs.

       143.      Plaintiff will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Plaintiff is entitled to compensation for

any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

       144.      Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim charts that it provides with this Complaint. The claim charts depicted in

Exhibits E, F, G, and H are intended to satisfy the notice requirements of Rule 8(a)(2) of the

Federal Rule of Civil Procedure and does not represent Plaintiff’s preliminary or final

infringement contentions or preliminary or final claim construction positions.

                                  DEMAND FOR JURY TRIAL

       145.      Plaintiff demands a trial by jury of any and all causes of action.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:



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          a. That Defendant be adjudged to have directly infringed the ‘512 Patent, the ‘154

Patent, the ‘575 Patent, and the ‘551 Patent either literally or under the doctrine of equivalents;

          b. An accounting of all infringing sales and damages including, but not limited to, those

sales and damages not presented at trial;

          c. That Defendant, its officers, directors, agents, servants, employees, attorneys,

affiliates, divisions, branches, parents, and those persons in active concert or participation with

any of them, be permanently restrained and enjoined from directly infringing the ‘512 Patent, the

‘154 Patent, the ‘575 Patent, and the ‘551 Patent;

          d. An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate Plaintiff

for the Defendant’s past infringement and any continuing or future infringement up until the date

that Defendant is finally and permanently enjoined from further infringement, including

compensatory damages;

          e. An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

          f. That Defendant be directed to pay enhanced damages, including Plaintiff’s attorneys’

fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

          g. That Plaintiff be granted such other and further relief as this Court may deem just and

proper.

Dated: June 28, 2020                            Respectfully submitted,

Together with:                                  CHONG LAW FIRM PA

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